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        From: Bozsman,Walt
        SenL Wed Apr21 14:15282010
        T0r Ralnoy,Davidl; Rltchie,&qpn; Rooney,Teny C; Vlnson,craham (pinky);Thorseh, Jay C
        Gc: Epps,Davld S; Kercho,Debbieft Gansert,Tannor;Skripnikova,Galina
        Subject RE: WCD- Updated
        Inportance: Nonnal
        Attachmonts: WCD plots.ppt

        Date'
        We haw updatsdthe earlierWCD calculationu,lth neu,subeurface      pararneters ftom tlre \,facondoteamand modeled
        a flow raF at the seaflmr (aszumingriser falls) in Prosperwith the latestwellborecorfiguratiou. All the REsin
        GoMX participatedin this eyaluationalongwith mmerousmembersdthe Macondoteam.
        Wscalcrdate100,000BOPDnnd 300MMCFPDbnsedon theseparameters.This is shownin the ottaclred
        PonnrPoinl
        We luve identifiedseveralitoms,howwer that oouldirnpactthierateto keepin oonsideration,
        Itemsto lessenflow - formutlon skiq forrurton coltapse,prrtial restricfionsin the qrcllboreor at the q€ltherd,
        Itemsto insr€ascflow - riserdoesnrtfall to seabed,cata$rophicfailure of rvallheadallowing flow-up 9 718X 16',
        contributionsfipm uphole zoles,
        Pleaselel uskuow if ne needto provi& furtlrer explanallerqr urglysis.
        Rcgnrds,
        walt andrheGd\D(REs




        frmr    Bmnul     WaIt
        frent! WeficEday,April 21,2010 6:43 AM
        To:    Rtrftry, DayidI; Rltdhto,Bryan;Roonoy,TcrtyC
                      'WCD
        SubJcctl
        Davo,
        We madea prelininary eslimateof a nevvWCD for tlle wellbore, A rateof 162rnbo@wascalcdatedfor the EP. Our
        treryrate (preliminary)is 189mbopdwith the betbr thancxpectpdfluid proporticsout weighingthe postliner setting
        snsingdesign(this is a snaller nall boreconfigurationtlun usedfor the EP colorlation).
        The calqJation is greatlyinfluencedW the permeabilityandwe arestill usingour predrill estimatcin the above
        calculation.tsffdn basGalinaet.al.taskedwith re'assessing  this anda coupleotherkey subsurface  parameters.On
        the calfllation side,Tanucris mming in to prcvidc a mcc sophisticated analysisof the calculationwith Prosper
        softvarp(venusa sprendsheot   calsulatorth;atI used),
        Weexpectto report.back in a couplehourswith an updatedassessnrent,
        Regnrds,
        Walt
        PS- I am lrcadinghomcfor a shorvcr,my crll numbcris 281-870-2065




                                                                Exhibit No.
                                                                 Worldwide Court
                                                                            Inc.
CONFIDENTIAL                                                                                 BP-HZN-21T9MDL02314243
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